                  Case 3:19-cr-00412-RS Document 12 Filed 10/21/19 Page 1 of 6




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 9

10                                    UNITED STATES DISTRICT COURT

11                                 NORTHERN DISTRICT OF CALIFORNIA

12                                        SAN FRANCISCO DIVISION

13   UNITED STATES OF AMERICA,                        ) CASE NO. CR 19-00412 RS
                                                      )
14           Plaintiff,                               ) [PROPOSED] PROTECTIVE ORDER
                                                      )
15      v.                                            )
                                                      )
16   VICTOR PALOMARES,                                )
                                                      )
17           Defendant.                               )
                                                      )
18                                                    )
                                                      )
19

20           With the agreement of the parties, the Court enters the following Protective Order:
21           The defendant is charged with controlled-substances offenses. Upon receipt of discovery
22 requests, the United States will produce to defense counsel documents and other materials pertaining to

23 the defendant and the charged offenses.

24           The discovery to be provided includes documents or other materials falling into the following
25 categories (collectively, “Protected Information”):

26           1.      Sealed court orders authorizing the interception of wire and electronic communications
27 over telephones, and associated documents, as set forth in Attachment A, that contain Personal

28 Identifying Information (“PII”) of the defendants and third parties (including without limitation any

     [PROPOSED] PROTECTIVE ORDER                     1
     CR 19-00412 RS
                 Case 3:19-cr-00412-RS Document 12 Filed 10/21/19 Page 2 of 6




 1 person’s date of birth, social security number, residence or business address, telephone numbers, email

 2 addresses, driver’s license number, professional license number, family members’ names, or criminal

 3 histories), as well as information regarding potential targets of investigation;

 4          2.      Other court filings, including warrants for premises, vehicle trackers, and cell phone

 5 location data, and associated documents, as set forth in Attachment B, that contain PII of defendants and

 6 third parties; and

 7          3.      Audio and video recordings involving confidential sources and undercover officers.

 8          To ensure that Protected Information is not subject to unauthorized disclosure or misuse,

 9          IT IS HEREBY ORDERED that, notwithstanding any sealing order, the government may

10 produce the documents in Attachments A and B relating to this investigation as necessary to comply

11 with its discovery obligations.

12          IT IS FURTHER ORDERED that the documents listed in Attachment A, as well as audio and

13 video recordings involving confidential sources and undercover officers, shall be produced to defense

14 counsel of record, their investigators, assistants, and employees, and any experts retained to assist with

15 preparation of the defense in the captioned case, so long as they have reviewed and agreed to be bound

16 by this Order (collectively, “the defense team”). The defense team may review the documents and

17 recordings with the defendant, but shall not provide the defendant with copies of, or permit the

18 defendant to make copies of, or have unsupervised access to these documents and recordings.

19          IT IS FURTHER ORDERED that the documents listed in Attachment B shall be produced to

20 the defendant in addition to the defense team. However, these documents shall not be disseminated or

21 disclosed to anyone other than the defendant and the defense team, except upon the express

22 authorization of this Court.

23          All materials containing Protected Information shall be stamped on their face “PROTECTED

24 INFORMATION – SUBJECT TO PROTECTIVE ORDER.”

25          The government and defense counsel are ordered to work together to ensure that these materials

26 are protected, but that each defendant has as much access to the materials as can be provided consistent

27 with this Court’s order.

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     [PROPOSED] PROTECTIVE ORDER                      2
     CR 19-00412 RS
                Case 3:19-cr-00412-RS Document 12 Filed 10/21/19 Page 3 of 6




 1          The defendant and all members of the defense team who receive discovery under this Order shall

 2 be provided a copy of this Order along with those materials and shall initial and date the order reflecting

 3 their agreement to be bound by it.

 4          The materials provided pursuant to this protective order may only be used for the specific

 5 purpose of preparing or presenting a defense in this matter, unless specifically authorized by the Court.

 6          This Order shall also apply to any copies made of any materials covered by this Order.

 7          IT IS FURTHER ORDERED that neither defendant nor any member of the defense team shall

 8 provide any discovery material containing Protected Information to any third party (i.e., any person who

 9 is not a member of the defense team) or make any public disclosure of the same, other than in a court

10 filing, without the government’s express written permission or further order of this Court.

11          If a party files a pleading that contains or attaches Protected Information subject to this Order,

12 the Protected Information must be redacted from the public filing and filed under seal. The defense

13 team shall comply with Criminal Local Rule 56-1 to ensure that Protected Information is not improperly

14 disclosed.

15          IT IS FURTHER ORDERED that defense counsel shall return materials subject to this

16 Protective Order (including any copies) to the United States, or destroy such materials and certify to the

17 United States that they have been destroyed, within 14 days after whichever event occurs last in time:

18 dismissal of all charges against the defendant; defendant’s acquittal; defendant’s sentencing; or the

19 conclusion of any direct appeal. Should the defense team seek to retain copies of any materials subject

20 to this protective order, the defense team may, within the time limits set out in the preceding sentence,

21 request that the government provide copies of such materials with all Protected Information

22 appropriately redacted. Government counsel shall provide such redacted copies within a reasonable

23 time after the defense team’s request.

24          The United States shall maintain materials subject to this Protective Order until the period for

25 filing a motion under 28 U.S.C. § 2255 has expired. After the statutory period for filing a motion under

26 28 U.S.C. § 2255 has expired, the United States is free to destroy documents and materials subject to

27 this Order. If a defendant is represented by counsel and files a motion pursuant to 28 U.S.C. § 2255, the

28 United States will provide counsel with the documents and materials subject to this Protective Order

     [PROPOSED] PROTECTIVE ORDER                      3
     CR 19-00412 RS
               Case 3:19-cr-00412-RS Document 12 Filed 10/21/19 Page 4 of 6




 1 under the terms of this Order. Defendant’s attorney in any motion under 28 U.S.C. § 2255 shall return

 2 the documents and materials subject to this Protective Order within 14 days after the district court’s

 3 ruling on the motion or 14 days after the conclusion of any direct appeal of the district court’s order

 4 denying the motion, whichever is later.

 5          This stipulation is without prejudice to either party applying to the Court to adjudicate any

 6 dispute under this protective order or to modify the terms of the protective order. This Court shall retain

 7 jurisdiction to modify this Order or to adjudicate any dispute thereunder upon motion of either

 8 party even after the conclusion of district court proceedings in this case.

 9          IT IS SO STIPULATED.

10 DATED: October 21, 2019
                                                          DAVID L. ANDERSON
11                                                        United States Attorney
12
                                                           /s/ Erin Cornell___________
13                                                        ERIN A. CORNELL
                                                          Assistant United States Attorney
14 DATED: October 21, 2019

15                                                         /s/ Alanna Coopersmith_____
                                                          ALANNA COOPERSMITH
16
                                                          Attorney for Defendant
17                                                        VICTOR PALOMARES

18

19          IT IS SO ORDERED.

20 DATED: 10/21/19

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22                                                        HONORABLE RICHARD SEEBORG
                                                          United States District Judge
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     [PROPOSED] PROTECTIVE ORDER                     4
     CR 19-00412 RS
             Case 3:19-cr-00412-RS Document 12 Filed 10/21/19 Page 5 of 6




 1                                       ATTACHMENT A

 2 WIRETAP APPLICATIONS/AFFIDAVITS/ORDERS

 3   Docket Number                 Warrant/Order Date    Description
     19-90282                      03/28/2019            Target Telephone 1
 4   19-90668                      07/30/2019            Target Telephones 2 and 3
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     [PROPOSED] PROTECTIVE ORDER              5
     CR 19-00412 RS
             Case 3:19-cr-00412-RS Document 12 Filed 10/21/19 Page 6 of 6




 1                                       ATTACHMENT B

 2 PEN REGISTER APPLICATIONS/ORDERS

 3   Docket Number                 Warrant/Order Date    Description
     19-90067                      01/24/2019            (818) 310-2294
 4   19-90154                      02/14/2019            (408) 762-9182
     19-90264                      03/22/2019            (408) 380-9798
 5   19-90367                      04/19/2019            (408) 449-3699
     19-90429                      05/17/2019            (562) 358-9036 &
 6                                                       (213) 322-6933
     19-90448                      05/22/2019            (909) 761-3693
 7   19-90471                      05/29/2019            (951) 758-1154
     19-90477                      05/30/2019            (209) 818-2352
 8
     LOCATION DATA FOR CELLULAR TELEPHONES WARRANT APPICATIONS/ORDERS
 9
     Docket Number                 Warrant/Order Date    Description
10   SF Superior Court             09/06/2018            (408) 507-7290
11   19-70525                      04/10/2019            (408) 380-9798
     19-70606                      04/22/2019            (408) 449-3699
12   19-70839                      05/20/2019            (209) 818-2352
                                   08/ /2019             (323) 316-4390
13   19-71375                      08/28/2019            (209) 818-3400

14 VEHICLE TRACKING WARRANT APPLICATIONS/ORDERS

15   Docket Number                 Warrant/Order Date    Description
     SF Superior Court             09/13/2018            7XOK512
16   SF Superior Court             10/12/2018            7XOK512
     18-71594                      11/08/2018            7XOK512
17   18-71699                      11/28/2018            7TAU324
     18-71774                      12/18/2018            7XOK512
18   19-70051                      1/10/2019             7TAU324
     19-70138                      1/30/2019             7XOK512
19   19-70249                      2/20/2019             7TAU324
     19-70381                      3/13/2019             7XOK512
20   19-70507                      4/5/2019              7TAU324
     19-70526                      4/10/2019             01528N1
21   19 SW 00129 (EDCA)            4/25/2019             01528N1
     19-70628                      4/25/2019             7XOK512
22   19 SW 00155 (EDCA)            5/14/2019             01528N1
     19 SW 00202                   6/25/2019             01528N1
23
     PREMISES SEARCH WARRANT APPLICATIONS/ORDERS
24
     Docket Number                 Warrant/Order Date   Description
25
                                   08/27/2019           224 Chow Chow Lane,
26                                                      Modesto, CA; 2339 West
                                                        Hatch Road, Modesto, CA
27

28

     [PROPOSED] PROTECTIVE ORDER                6
     CR 19-00412 RS
